                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

DONNA LOU, ET AL.                          *       CIVIL ACTION NO. 21-80

VERSUS                                     *       SECTION “D” (2)

SHERIFF JOSEPH P, LOPINTO,        *        Judge Wendy B. Vitter
III, ET AL.                                      Magistrate Judge Donna P. Currault

                                      Notice of Submission

     Plaintiffs’ Motion for Spoliation Sanctions will be submitted on November 1, 2022.

                                           RESPECTFULLY SUBMITTED,

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